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              EXHIBIT 1




                                                        Exhibit 1
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              EXHIBIT 2




                                                        Exhibit 2
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               EXHIBIT 3




                                                        Exhibit 3
Case 4:22-cv-03474 Document 1-1 Filed on 10/07/22 in TXSD Page 13 of 42             8/29/2022 4:08 PM
                                                         Marilyn Burgess - District Clerk Harris County
                                                                              Envelope No. 67768268
                                                                                  By: Brenda Espinoza
                                                                             Filed: 8/29/2022 4:08 PM
Case 4:22-cv-03474 Document 1-1 Filed on 10/07/22 in TXSD Page 14 of 42
Case 4:22-cv-03474 Document 1-1 Filed on 10/07/22 in TXSD Page 15 of 42
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Kaitlyn-Marie Torres on behalf of Raul Carlo Garcia
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Status as of 8/29/2022 4:49 PM CST
Case Contacts
Name            BarNumber   Email                      TimestampSubmitted      Status
Jessica Fritz               eserve@puschnguyen.com     8/29/2022 4:08:02 PM    SENT
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               EXHIBIT 4




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                                                                                Marilyn Burgess - District Clerk Harris County
                                                                                                     Envelope No. 67855582
                                                                                             By: Cynthia ClauseII-McGowan
                                                                                                    Filed: 8/31/2022 3:18 PM

                                        CAUSE NO. 202246128

 FEMINA CHARANIA,                                                  IN THE DISTRICT COURT OF
      Plaintiff,

 V   .                                                                  HARRIS COUNTY, TEXAS

 FIESTA GROCERY MARKET INC,
 INDIVIDUALLY AND D/B/A FIESTA
 MART #50,
      Defendant.                                                      215TH JUDICIAL DISTRICT


                           PLAINTIFF'S FIRST AMENDED PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

           COMES NOW, Femina Charania ("Plaintiff') complaining of Fiesta Grocery Market Inc,

Individually and D/B/A Fiesta Mart #50, ("Defendant") and for cause of action shows unto the

Court the following:

                              DISCOVERY CONTROL PLAN LEVEL

1.         Plaintiff intends that discovery be conducted under Discovery Level 2.

                                      PARTIES AND SERVICE

2.         Plaintiff is an individual who resides in Harris County, Texas and represented by the

undersigned counsel.

3.         Defendant Fiesta Mart #50 is a domestic corporation doing business in in the State of Texas.

Defendant's principal place of business is in Harris County, Texas. Defendant may be served with

through its registered agent, CT Corporation System, 1999 Bryan St., Suite 900, Dallas, Texas

75201, or wherever it may be found.




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                                         JURISDICTION

4.     The Court has jurisdiction over this cause of action because the amount in controversy is

within the jurisdictional limits of the Court. Plaintiff is seeking monetary relief over $250,000 but

not more than $1,000,000. Plaintiff reserves the right to amend her petition during and/or after the

discovery process.

5.     The Court has personal jurisdiction over Defendant because it is a domestic business entity.

                                              VENUE

6.     Venue is proper in Harris County, Texas pursuant to Section 15.002(a)(1) of the Texas

Civil Practice and Remedies Code because Harris County is the county in which all or a substantial

part of the events or omissions giving rise to the claim occurred.

                                                 FACTS

7.     On or about October 22, 2020, during normal business hours, Plaintiff entered upon

Defendant's premises located at 5815 Lockwood, Houston, Texas 77026. Plaintiff was shopping

inside Defendant's premises when she slipped on a standing puddle of water on the floor of

Defendant's premises causing Plaintiff to fall and sustain serious bodily injury. Plaintiff did not

see the puddle on the floor and Defendant's associates failed to cure or even provide warning as to

the hazard. As a result of the impact Plaintiff suffered serious bodily injury.

            PLAINTIFF'S CLAIM OF NEGLIGENCE AGAINST DEFENDANT

8.     Defendant breached its duty of ordinary care and is liable to Plaintiff for negligence by:

               a. failing to adequately provide Plaintiff assistance;

               b. failing to make the condition reasonably safe;

               c. failing to care for the premises in a reasonable manner;

               d. creating the dangerous condition; and



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                e. other acts deemed negligent.

9.      Defendant's agents or employees created the dangerous condition and, therefore,

Defendant had actual knowledge of the condition.

10.     Defendant's breaches were the proximate cause of Plaintiff's injuries.

11.     Each of the above acts or omissions constitutes negligence.

12.     Plaintiff incorporates by reference the above paragraphs here.

13.     At all material times, Defendant's employees were acting in the course and scope of their

employment with Defendant. The incident made the basis of this suit is a direct and proximate

result of the negligence of Defendant's employees. Therefore, Defendant is liable for the negligent

acts and/or omissions of its employees under the doctrine of vicarious liability or respondeat

superior.

14.     Defendant's employees were actively negligent in one or more of the following ways:

                a. failing to maintain a hazard free premises;

                b. failing to warn Plaintiff of the hazard present;

                b. disregarding the safety of Plaintiff; and

                c. any other such acts deemed negligent.

15.     Moreover, Defendant was negligent by failing to properly maintain the premises, train and

supervise its employees on the proper maintenance of the premises, who in turn failed to provide

Plaintiff the necessary and safe environment, causing Plaintiff to slip and fall to the ground, causing

his injuries.

16.     Defendant's breaches and/or the breaches of Defendant's employees in the course and

scope of their employment proximately caused by Plaintiff's injuries.

17.     Each of the above acts or omissions constitutes negligence.



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                                 DAMAGES FOR PLAINTIFF

18.     As a direct and proximate result of the occurrence made the basis of this lawsuit, Plaintiff

as suffered substantial damages for which he seeks recovery from Defendant:

               a.      Reasonable medical care and expenses in the past. These expenses were

                       incurred by Plaintiff for the necessary care and treatment of the injuries

                       resulting from the accident complained of herein and such charges are

                       reasonable and were usual and customary charges for such services in Harris

                       County, Texas;

               b.      Reasonable and necessary medical care and expenses which will in all

                       reasonable probability be incurred in the future;

               c.      Physical pain and suffering in the past;

               d.      Physical pain and suffering in the future; and

               e.      Physical impairment in the past;

               f.      Physical impairment which, in all reasonable probability, will be suffered in

                       the future;

               g.      Mental anguish in the past;

               h.      Mental anguish in the future; and

               i.      Any other damages that Plaintiff can show entitled to recover. Plaintiff is

                       seeking monetary relief over $250,000 but not more than $1,000,000.

                       Plaintiff reserves his right to amend his petition and seek more or less money

                       depending on outcome of the discovery process.




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                                    REQUIRED DISCLOSURES

19.     Under Texas Rules of Civil Procedure 194, Plaintiff hereby gives formal notice that

Defendant must disclose, within thirty (30) days after the filing of the first answer or general

appearance, the information and/or material described in rule 194.2(b).

                                         JURY DEMAND

20.     Plaintiff requests that all causes of actions alleged herein be tried before a jury consisting

of citizens residing in Harris County, Texas. Plaintiff tenders the appropriate jury fee.

                        DESIGNATED E-SERVICE EMAIL ADDRESS

21.     The following is the undersigned attorney's designated e-service email address for all e-

served documents and notices, both filed and unfiled, pursuant to Tex. R. Civ. P. 21(0(2) & 21a:

eserve@puschnguyen.com. This is the undersigned's only e-service email address and service

through any other email address will be considered invalid.

                                             PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiff pray that the Defendant be cited in

terms of law to appear and answer herein, and, that upon final trial hereof, Plaintiff have and

recover such sums as would reasonably and justly compensate them in accordance with the rules

of law and procedure and any damages legally recoverable. In addition, Plaintiff requests the

award of all costs of Court expended on Plaintiff's behalf, for pre-judgment and post-judgment

interest as allowed by law, and for any other and further relief, either at law or in equity, to which

Plaintiff may be justly entitled.




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                                Respectfully submitted,

                                PUSCH & NGUYEN LAW FIRM PLLC

                                /s/ Jessica Fritz
                                Jessica Fritz
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                                6330 Gulf Freeway
                                Houston, Texas 77023
                                Telephone: (713) 524-8139
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                                E-Service: eserve@puschnguyen.com
                                Corresponding E-Mail: jessica@puschnguyen.com

                                ATTORNEY FOR PLAINTIFF




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Anthony Pusch on behalf of Jessica Fritz
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eserve@puschnguyen.com
Envelope ID: 67855582
Status as of 8/31/2022 4:19 PM CST
Case Contacts
Name                   BarNunnber   Email                    TimestannpSubnnitted   Status
Jessica Fritz                       eserve@puschnguyen.com   8/31/2022 3:18:56 PM   SENT
Carlo Garcia                        cglaw@osgclaw.com        8/31/2022 3:18:56 PM   SENT
Kaitlyn Marie-Torres                katie@osgclaw.corn       8/31/2022 3:18:56 PM   SENT
David Rodriguez                     david@osgclaw.com        8/31/2022 3:18:56 PM   SENT
Case 4:22-cv-03474 Document 1-1 Filed on 10/07/22 in TXSD Page 25 of 42




               EXHIBIT 5




                                                          Exhibit 5
Case 4:22-cv-03474 Document 1-1 Filed on 10/07/22 in TXSD Page 26 of 42             9/21/2022 1:18 PM
                                                         Marilyn Burgess - District Clerk Harris County
                                                                              Envelope No. 68477172
                                                                                By: Joshua Herrington
                                                                             Filed: 9/21/2022 1:18 PM
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               EXHIBIT 6




                                                         Exhibit 6
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                                       CAUSE NO. 202246128

 FEMINA CHARANIA,                                 §            IN THE DISTRICT COURT OF
       Plaintiff,                                 §
                                                  §
 vs.                                              §            HARRIS COUNTY, TEXAS
                                                  §
 FIESTA GROCERY MARKET INC,                       §
 INDIVIDUALLY AND D/B/A FIESTA MART               §
 #50                                              §
        Defendant.                                §            215TH JUDICIAL DISTRICT

                    DEFENDANT’S ORIGINAL ANSWER AND VERIFIED DENIAL

TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW Defendant Fiesta Mart #50 hereby file its Original Answer and Verified

Denial to Plaintiff’s Original Petition and, in support thereof, states as follows:

                                                I.
                                         VERIFIED DENIAL

         1.    By way of verified denial pursuant to Texas Rule of Civil Procedure 93, Defendant

denies that Plaintiff is entitled to recover from “Fiesta Grocery Market Inc., Individually and

D/B/A Fiesta Mart #50” in the capacity in which it has been sued. Defendant denies that “Fiesta

Grocery Market Inc., Individually and D/B/A Fiesta Mart #50” owned or operated the premises at

issue on the date of this incident. Consequently, Plaintiff has no right or potential right of

recovery against “Fiesta Grocery Market Inc., Individually and D/B/A Fiesta Mart #50” because it

is not a proper party to this lawsuit. See, e.g., Ray Malooly Trust v. Juhl, 186 S.W.3d 568, 571 (Tex.

2006). Fiesta Mart, LLC is the proper legal entity.




DEFENDANT’S ORIGINAL ANSWER AND VERIFIED DENIAL                                                 Page 1
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                                               II.
                                         GENERAL DENIAL

        Defendant denies each and every material allegation contained in Plaintiff’s Original

Petition, demands strict proof thereof, and to the extent that such matters are questions of fact,

say Plaintiff should prove such facts by a preponderance of the evidence to a jury if she can so

do.

                                                III.
                                             DEFENSES

        1.     Defendant specifically denies Plaintiff’s claims that it was negligent and/or that its

alleged acts or omissions proximately caused Plaintiff’s alleged damages.

        2.     Pleading further, Defendant claims that Plaintiff failed to use a degree of care and

caution as would have been used by a reasonable person under the same or similar

circumstances, thereby producing or proximately causing or contributing to cause her injuries

and damages, if any. Such acts or omissions of Plaintiff were the sole and/or a producing and/or

a proximate cause of Plaintiff’s damages or injuries, if any.

        3.     Defendant alleges that Plaintiff’s alleged damages or injuries, if any, were caused

by the acts of third persons not under the control of Defendant. Such acts or omissions of said

third persons were the sole and/or a producing and/or a proximate cause of Plaintiff’s alleged

damages or injuries, if any.

        4.     To the extent necessary, Defendant would show that the accident complained of

was an unavoidable accident, as that term is known in law.




DEFENDANT’S ORIGINAL ANSWER AND VERIFIED DENIAL                                                Page 2
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       5.      Defendant further claims that it had neither actual nor constructive knowledge of

the allegedly hazardous condition about which Plaintiff complains, and that in any event, the

alleged hazard was not “unreasonably dangerous.”

       6.      Pleading further and in the alternative, Defendant claims that the premises

condition asserted by Plaintiff in her Original Petition was known to Plaintiff, was open and

obvious, and/or was not concealed from Plaintiff and, therefore, Defendant denies that it owed

any duty to warn Plaintiff of the alleged premises condition or protect her from it.

       7.      Defendant states that Plaintiff’s alleged damages complained of, if any, may be

the result of prior or pre-existing injuries, accidents or conditions, and said prior or pre-existing

injuries, accidents or conditions, if any, would be the sole and/or a contributing cause of Plaintiff’s

damages alleged against Defendant.

       8.      Defendant states that Plaintiff’s alleged damages complained of, if any, may be

the result of subsequent and unrelated injuries, accidents or conditions, and said injuries,

accidents or conditions, if any, would be new and intervening, sole and/or a contributing cause(s)

of Plaintiff’s damages alleged against Defendant.

       9.      Defendant claims that Plaintiff may be malingering and exaggerating the nature

and severity of her alleged injuries in order to continue treatment and/or inflate damages, and

accordingly, Defendant contends that Plaintiff’s treatment may not be medically necessary or

reasonable.

       10.     Defendant further contends that Plaintiff may have breached her duty to mitigate

damages by failing to exercise reasonable care and diligence to avoid loss and minimize the

consequences of her alleged damages.



DEFENDANT’S ORIGINAL ANSWER AND VERIFIED DENIAL                                                  Page 3
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        11.     Defendant contends that, pursuant to § 18.091 of the Texas Civil Practice &

Remedies Code, to the extent Plaintiff is seeking a recovery for loss of earnings, lost wages, loss

of earning capacity and/or loss of contributions of pecuniary value, evidence of this alleged loss

must be presented by Plaintiff in the form of a net loss after reduction for income tax payments,

or unpaid tax liability to any federal income tax law.

        12.     Defendant contends that any claims for medical or health care expenses incurred

is limited to the amount actually paid or incurred by or on behalf of Plaintiff, pursuant to Texas

Civil Practice and Remedies Code § 41.0105.

        13.     Defendant states that, in the unlikely event an adverse judgment would be

rendered against it in this matter, Defendants would respectfully pray for contribution, indemnity

and/or all available credits as provided for in the Texas Civil Practice and Remedies Code and

under Texas law.

        14.     Defendant respectfully demand a court reporter be present at all proceedings

before the Court.

                                               IV.
                                             PRAYER

        Defendant respectfully prays that Plaintiff take nothing by this cause of action, and that

Defendant be permitted to recover the costs expended on its behalf. Defendant also prays for

all other and further relief, both general and special, at law and in equity, to which it may show

itself to be justly entitled.




DEFENDANT’S ORIGINAL ANSWER AND VERIFIED DENIAL                                              Page 4
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                                           Respectfully submitted,


                                           /s/ Hope Zimlich Miranda
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                                           (214) 999-0550 (telephone)
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                                           ATTORNEYS FOR DEFENDANT FIESTA MART #50




                                  CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document has been
forwarded to all counsel of record pursuant to and in accordance with the Texas Rules of Civil
Procedure on September 30, 2022.

                                           /s/ Hope Zimlich Miranda
                                           Hope Zimlich Miranda




DEFENDANT’S ORIGINAL ANSWER AND VERIFIED DENIAL                                         Page 5
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               EXHIBIT 7




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               EXHIBIT 8




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               EXHIBIT 9




                                                         Exhibit 9
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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

 FEMINA CHARANIA                             §
       Plaintiff,                            §
                                             §
 vs.                                         §
                                             §          CIVIL ACTION NO. 4:22-cv-3474
 FIESTA GROCERY MARKET INC,                  §
 INDIVIDUALLY AND D/B/A FIESTA MART          §
 #50                                         §
        Defendant.                           §

                              LIST OF ALL COUNSEL OF RECORD

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